           Case 3:18-cv-00359-WHA Document 57 Filed 03/08/18 Page 1 of 4



 1 Michael T. Pieja (CA Bar No. 250351)
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 2 Jennifer Greenblatt (pro hac vice to be filed)
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 3 Andrew J. Rima (pro hac vice to be filed)
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   Attorneys for Defendant Apple Inc.
11
                                  UNITED STATES DISTRICT COURT
12                             NORTHERN DISTRICT OF CALIFORNIA
                                      SAN FRANCISCO DIVISION
13
   UNILOC USA, INC., et al.,                           Case No.: 3:18-cv-00359-WHA
14
                  Plaintiffs,                          DEFENDANT APPLE INC.’S NOTICE
15                                                     OF MOTION AND MOTION TO
           v.                                          DISMISS PLAINTIFFS’ AMENDED
16                                                     COMPLAINT PURSUANT TO FED. R.
   APPLE INC.,                                         CIV. P. 12(B)(6)
17
                  Defendant.                           DATE: Thursday, April 26, 2018
18
                                                       TIME: 8:00 a.m.
19                                                     COURTROOM: 12, 19th Floor
                                                       JUDGE: Hon. William Alsup
20

21                                               [Filed Concurrently with Declaration of
                                                 Michael T. Pieja, Exhibits, and Proposed
22                                               Order]

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     APPLE’S NOTICE OF MOTION TO DISMISS     i                          Case No. 3:18-cv-00359-WHA
           Case 3:18-cv-00359-WHA Document 57 Filed 03/08/18 Page 2 of 4



 1                          NOTICE OF MOTION AND MOTION TO DISMISS
 2           PLEASE TAKE NOTICE that on April 26, 2018 in Courtroom 12 of the United States
 3 District Court located at 450 Golden Gate Avenue, San Francisco, CA 94102, before the Honorable

 4 William Alsup, Defendant Apple Inc. (“Apple”) will and hereby does respectfully move this Court

 5 for an order granting Apple’s Motion to Dismiss Plaintiffs’ Amended Complaint Pursuant to

 6 Federal Rule of Civil Procedure 12(b)(6). This Motion is based upon this Notice of Motion, the

 7 previously filed Motion to Dismiss and the exhibit attached thereto (Ex. 2)1, the Reply in support of

 8 the Motion (Ex. 4), the Proposed Order filed concurrently herewith, any evidence on file in this

 9 action, and upon further oral or documentary evidence as the Court shall consider prior to or at the

10 time of the hearing on this Motion. Apple filed its Motion to Dismiss on December 1, 2017, when

11 this case was venued in the Eastern District of Texas.

12           The Motion has been fully briefed (Exs. 2-5).
13

14                                STATEMENT OF RELIEF REQUESTED
15           The Court should dismiss Plaintiffs Uniloc USA, Inc. and Uniloc Luxembourg S.A.’s
16 Amended Complaint (Ex. 1) for failing to state any claims upon which relief can be granted under

17 Federal Rule of Civil Procedure 12(b)(6).

18
     DATED: March 8, 2018                         Respectfully submitted,
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20
                                                   /s/ Michael T. Pieja
21                                                Michael T. Pieja (CA Bar No. 250351)
                                                  Alan E. Littmann (pro hac vice to be filed)
22                                                Jennifer Greenblatt (pro hac vice to be filed)
                                                  Doug Winnard (CA Bar No. 275420)
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24             On August 22, 2017, this action was consolidated with other related cases in the Eastern
     District of Texas, with the Lead Case determined to be Cause No. 2:17-cv-00470-JRG. Apple’s
25   Motion to Dismiss, any related documents, and Uniloc’s Amended Complaint, were subsequently
     filed in the Lead Case, as required by the Court in the Eastern District of Texas. This action was
26   subsequently transferred to this District, where it is not presently consolidated with any other
     action. As a result, the docket entries pertaining to the motion were not transferred to the docket of
27   the present case. When Apple previously noticed the present motion before Judge White, it attached
     the relevant pleadings to its notice of motion. For ease of reference, these documents are attached
28   hereto again as exhibits to the Declaration of Michael T. Pieja.

     APPLE’S NOTICE OF MOTION TO DISMISS               1                             Case No. 3:18-cv-00359-WHA
           Case 3:18-cv-00359-WHA Document 57 Filed 03/08/18 Page 3 of 4



 1                                         Andrew J. Rima (pro hac vice to be filed)
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10                                         Attorneys for Defendant Apple Inc.
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     APPLE’S NOTICE OF MOTION TO DISMISS       2                            Case No. 3:18-cv-00359-WHA
           Case 3:18-cv-00359-WHA Document 57 Filed 03/08/18 Page 4 of 4



 1                                         PROOF OF SERVICE
 2           The undersigned hereby certifies that a true and correct copy of DEFENDANT APPLE
 3 INC.’S NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFFS’ AMENDED

 4 COMPLAINT PURSUANT TO FED. R. CIV. P. 12(B)(6) has been served on March 8, 2018, to

 5 all counsel of record who are deemed to have consented to electronic service via the Court’s

 6 CM/ECF system per Civil L.R. 5-1(h)(1).

 7

 8                                             /s/ Michael T. Pieja
                                               Michael T. Pieja (CA Bar No. 250351)
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     APPLE’S NOTICE OF MOTION TO DISMISS           3                          Case No. 3:18-cv-00359-WHA
